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         Com es now the U nite
                             Id States of Am edca tllrough its attorney and m oves to tm seal the

above-captioned case.

         A 11fourdefendantshave been arrested and are aw aiting theirirlitialhearing.


                                                     Respectfully subm itted,

                                                     TH O M A S T.CU LLEN
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                                                          s pherK avanaugh
                                                       ssistantU nited States Attorney
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